      Case 3:23-cv-04119-RFL Document 46-3 Filed 08/02/24 Page 1 of 2



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11                                  UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

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14   SHANNON IRELAND-GORDY and                      Case No. 3:23-CV-04119-RFL
     STEPHANIE IRELAND GORDY, MELISSA
15   BROAD, and JANE DOE individually and on        [PROPOSED] ORDER GRANTING
     behalf of all others similarly situated,       PLAINTIFFS’ MOTION TO PROCEED
16                                                  UNDER A PSEUDONYM AS TO JANE
                      Plaintiffs,                   DOE
17
           v.                                       Hearing Date:     September 17, 2024
18                                                  Hearing Time:     10:00 a.m.
     TILE, INC., LIFE360, INC., and                 Judge:            Rita F. Lin
19   AMAZON.COM, INC.,                              Dept.             15

20                    Defendants.

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                                                           [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                           MOTION TO PROCEED UNDER A PSEUDONYM
                                                                         CASE NO. 3:23-CV-04119-RFL
      Case 3:23-cv-04119-RFL Document 46-3 Filed 08/02/24 Page 2 of 2



 1          The Court, having read and considered Plaintiffs’ Motion to Proceed Under a Pseudonym
 2   as to Jane Doe, and all papers filed in support thereof and in opposition thereto, and good cause
 3   appearing, hereby GRANTS Plaintiffs’ Motion and finds Plaintiff Jane Doe may continue to
 4   proceed pseudonymously until such a time as Defendants can articulate a compelling need to
 5   proceed otherwise.
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 7   IT IS SO ORDERED.
 8   DATED this __________ day of __________________ 2024
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10                                        ______________________________
                                          HON. RITA F. LIN
11                                        United States District Judge
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                                                    1            [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                                 MOTION TO PROCEED UNDER A PSEUDONYM
                                                                               CASE NO. 3:23-CV-04119-RFL
